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                                  Nebraska Supreme Court A dvance Sheets
                                          297 Nebraska R eports
                                                 STATE v. JEDLICKA
                                                 Cite as 297 Neb. 276



                                        State of Nebraska, appellee, v.
                                          Paul J. Jedlicka, appellant.
                                                    ___ N.W.2d ___

                                          Filed July 28, 2017.    No. S-16-629.

                1.	 Rules of Evidence: Hearsay: Appeal and Error. Apart from rulings
                     under the residual hearsay exception, an appellate court will review for
                     clear error the factual findings underpinning a trial court’s hearsay rul-
                     ing and review de novo the court’s ultimate determination whether the
                     court admitted evidence over a hearsay objection or excluded evidence
                     on hearsay grounds.
                2.	 Rules of Evidence: Hearsay. Whether a statement was both taken and
                     given in contemplation of medical diagnosis or treatment is a factual
                     finding made by the trial court in determining the admissibility of
                     the evidence under Neb. Evid. R. 803(3), Neb. Rev. Stat. § 27-803(3)
                     (Reissue 2016).
                3.	 Effectiveness of Counsel: Postconviction: Records: Appeal and
                     Error. An ineffective assistance of counsel claim is raised on direct
                     appeal when allegations of deficient performance are made with enough
                     particularity for (1) an appellate court to make a determination of
                     whether the claim can be decided upon the trial record and (2) a
                     district court later reviewing a petition for postconviction relief to
                     be able to recognize whether the claim was brought before the appel-
                     late court.
                4.	 Effectiveness of Counsel: Appeal and Error. Whether a claim of inef-
                     fective assistance of trial counsel may be determined on direct appeal is
                     a question of law.
                 5.	 ____: ____. In reviewing claims of ineffective assistance of counsel on
                     direct appeal, an appellate court decides only questions of law: Are the
                     undisputed facts contained within the record sufficient to conclusively
                     determine whether counsel did or did not provide effective assistance
                     and whether the defendant was or was not prejudiced by counsel’s
                     alleged deficient performance?
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              Nebraska Supreme Court A dvance Sheets
                      297 Nebraska R eports
                              STATE v. JEDLICKA
                              Cite as 297 Neb. 276
 6.	 Appeal and Error. An appellate court does not consider errors which
      are argued but not assigned.
 7.	 Rules of Evidence: Hearsay. A declarant’s out-of-court statement
      offered for the truth of the matter asserted is inadmissible unless it falls
      within a definitional exclusion or statutory exception.
  8.	 ____: ____. Neb. Evid. R. 803(3), Neb. Rev. Stat. § 27-803(3) (Reissue
      2016), is based on the notion that a person seeking medical attention
      will give a truthful account of the history and current status of his or her
      condition in order to ensure proper treatment.
 9.	 Rules of Evidence: Hearsay: Sexual Assault: Minors. Statements
      made by a child victim of sexual abuse to a forensic interviewer in the
      chain of medical care may be admissible under Neb. Evid. R. 803(3),
      Neb. Rev. Stat. § 27-803(3) (Reissue 2016), even though the interview
      has the partial purpose of assisting law enforcement’s investigation of
      the crimes.
10.	 Rules of Evidence: Hearsay: Police Officers and Sheriffs. The fun-
      damental inquiry to determine whether statements, made by a declarant
      who knew law enforcement was listening, had a medical purpose is
      if the challenged statement has some value in diagnosis or treatment,
      because the patient would still have the requisite motive for providing
      the type of sincere and reliable information that is important to that
      diagnosis and treatment.
11.	 Rules of Evidence: Hearsay: Proof. Statements having a dual medical
      and investigatory purpose are admissible under Neb. Evid. R. 803(3),
      Neb. Rev. Stat. § 27-803(3) (Reissue 2016), only if the proponent of the
      statements demonstrates that (1) the declarant’s purpose in making the
      statements was to assist in the provision of medical diagnosis or treat-
      ment and (2) the statements were of a nature reasonably pertinent to
      medical diagnosis or treatment by a medical professional.
12.	 Rules of Evidence: Hearsay. Under Neb. Evid. R. 803(3), Neb. Rev.
      Stat. § 27-803(3) (Reissue 2016),	the admissibility of a victim’s state-
      ments in a recording is not distinct from the admissibility of the state-
      ments themselves.
13.	 Rules of Evidence: Hearsay: Intent. Under Neb. Evid. R. 803(3),
      Neb. Rev. Stat. § 27-803(3) (Reissue 2016), the fundamental inquiry
      when considering a declarant’s intent is whether the statement was
      made in legitimate and reasonable contemplation of medical diagnosis
      or treatment.
14.	____: ____: ____. Under Neb. Evid. R. 803(3), Neb. Rev. Stat.
      § 27-803(3) (Reissue 2016), the appropriate state of mind of the declar-
      ant may be reasonably inferred from the circumstances; such a determi-
      nation is necessarily fact specific.
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             Nebraska Supreme Court A dvance Sheets
                     297 Nebraska R eports
                             STATE v. JEDLICKA
                             Cite as 297 Neb. 276
15.	 Effectiveness of Counsel: Appeal and Error. When a defendant’s trial
     counsel is different from his or her counsel on direct appeal, the defend­
     ant must raise on direct appeal any issue of trial counsel’s ineffective
     performance which is known to the defendant or is apparent from the
     record. Otherwise, the issue will be procedurally barred.
16.	 Effectiveness of Counsel: Records: Appeal and Error. The fact that
     an ineffective assistance of counsel claim is raised on direct appeal does
     not necessarily mean that it can be resolved on direct appeal. The deter-
     mining factor is whether the record is sufficient to adequately review
     the question.
17.	 Effectiveness of Counsel: Proof. To prevail on a claim of ineffective
     assistance of counsel under Strickland v. Washington, 466 U.S. 668, 104
     S. Ct. 2052, 80 L. Ed. 2d 674 (1984), the defendant must show that his
     or her counsel’s performance was deficient and that this deficient per­
     formance actually prejudiced the defendant’s defense.
18.	 ____: ____. To show prejudice on a claim of ineffective assistance of
     counsel, the defendant must demonstrate a reasonable probability that
     but for counsel’s deficient performance, the result of the proceeding
     would have been different.
19.	 Effectiveness of Counsel: Proof: Presumptions. The two prongs of the
     ineffective assistance of counsel test under Strickland v. Washington, 466
     U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984), may be addressed
     in either order, and the entire ineffectiveness analysis should be viewed
     with a strong presumption that counsel’s actions were reasonable.
20.	 ____: ____: ____. United States v. Cronic, 466 U.S. 648, 104 S. Ct.
     2039, 80 L. Ed. 2d 657 (1984), provides narrow exceptions to the inef-
     fective assistance of counsel test under Strickland v. Washington, 466
     U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984), where the reliability
     of the adversarial process is in such doubt that prejudice to the defend­
     ant will be presumed, resulting in a conclusion of ineffective assistance
     of counsel.
21.	 Effectiveness of Counsel: Presumptions. Under United States v.
     Cronic, 466 U.S. 648, 104 S. Ct. 2039, 80 L. Ed. 2d 657 (1984), there
     are three circumstances where prejudice to the defendant will be pre-
     sumed: (1) where the accused is completely denied counsel at a critical
     stage of the proceedings, (2) where counsel entirely fails to subject the
     prosecution’s case to meaningful adversarial testing, and (3) where the
     surrounding circumstances may justify the presumption of ineffective-
     ness without inquiry into counsel’s actual performance at trial.
22.	 Effectiveness of Counsel. The difference between the rule in Strickland
     v. Washington, 466 U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984),
     and the rule in United States v. Cronic, 466 U.S. 648, 104 S. Ct. 2039,
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                      297 Nebraska R eports
                              STATE v. JEDLICKA
                              Cite as 297 Neb. 276
     80 L. Ed. 2d 657 (1984), is the difference between bad lawyering and
     no lawyering.
23.	 ____. Under United States v. Cronic, 466 U.S. 648, 104 S. Ct. 2039, 80
     L. Ed. 2d 657 (1984), for counsel to entirely fail to subject the prosecu-
     tion’s case to meaningful adversarial testing, the attorney’s failure must
     be complete.
24.	 Appeal and Error. An appellate court is not obligated to engage in an
     analysis that is not necessary to adjudicate the case and controversy
     before it.
25.	 Convictions: Evidence: Appeal and Error. Regardless of whether
     the evidence is direct, circumstantial, or a combination thereof, and
     regardless of whether the issue is labeled as a failure to direct a verdict,
     insufficiency of the evidence, or failure to prove a prima facie case, the
     standard is the same: In reviewing a criminal conviction, an appellate
     court does not resolve conflicts in the evidence, pass on the credibility
     of witnesses, or reweigh the evidence; such matters are for the finder
     of fact, and a conviction will be affirmed, in the absence of prejudicial
     error, if the evidence admitted at trial, viewed and construed most favor-
     ably to the State, is sufficient to support the conviction.

   Appeal from the District Court for Sarpy County: David K.
A rterburn, Judge. Affirmed.
  Ann C. Addison-Wageman, of Law Office of Ann C.
Addison-Wageman, P.C., L.L.O., for appellant.
  Douglas J. Peterson, Attorney General, and Kimberly A.
Klein for appellee.

   Heavican, C.J., Wright, Miller-Lerman, Cassel, Stacy,
K elch, and Funke, JJ.
   Funke, J.
                     I. NATURE OF CASE
   In this direct appeal, Paul J. Jedlicka challenges his convic-
tion, by jury verdict, for first degree sexual assault of a child
under 12 years of age. Jedlicka primarily argues that he was
prejudiced by the erroneous admission of hearsay evidence
under the medical diagnosis and treatment exception, Neb.
Evid. R. 803(3), Neb. Rev. Stat. § 27-803(3) (Reissue 2016).
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           Nebraska Supreme Court A dvance Sheets
                   297 Nebraska R eports
                       STATE v. JEDLICKA
                       Cite as 297 Neb. 276
We conclude that the court properly admitted such evidence
under rule 803(3). We also reject Jedlicka’s assertions that
his trial counsel provided ineffective assistance and that the
evidence was insufficient to support his conviction. Therefore,
we affirm.

                            II. FACTS
   In May 2015, Jedlicka was in a relationship with the mother
of the 10-year-old victim, M.B., and had been living with
M.B., her mother, and her younger brother since the fall of
20l4. On May 13, 2015, the mother was working the night shift
as an emergency room nurse while Jedlicka watched M.B. and
her brother. After playing a “scary” video game, M.B.’s brother
wanted to sleep with her, but Jedlicka suggested both children
sleep with him in his and their mother’s bedroom. M.B. slept
between Jedlicka and her brother.
   M.B. testified that she woke up during the night to
Jedlicka’s fingers inside her vagina. She said that she was
scared and confused but pretended to be asleep because she
did not know what else to do; M.B. did not want Jedlicka to
know that she knew what was happening so that she could
tell someone later. She testified that she knew it was Jedlicka,
because his hand was bigger than her brother’s and she saw
that her brother was asleep on his back when she briefly
opened her eyes. M.B. said that eventually Jedlicka stopped
and left the room.
   The next morning, M.B. got ready for school and went to
the bus stop with her brother. She said that she did not say
anything that morning, because Jedlicka was the only adult at
the house and she still did not want him to know she had been
awake. M.B.’s mother met the children at the bus stop a minute
or two before the bus arrived to make sure they got there on
time. She said that her son was acting normal, but that M.B.
was acting differently, clinging to her rather than playing with
the other children. M.B. said that she did not tell her mother,
because other people were around.
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           Nebraska Supreme Court A dvance Sheets
                   297 Nebraska R eports
                        STATE v. JEDLICKA
                        Cite as 297 Neb. 276
   Once M.B. got to school, she told her teacher from the prior
year about the incident. The teacher testified at trial that M.B.
told her that Jedlicka had touched her privates. As a result, the
teacher notified the school psychologist and made a report to
Child Protective Services.
   Det. Brandon Stigge reported to the school to investigate the
allegation. He testified that M.B. was crying when he arrived
and that he told her there were “way smarter” people than he
was that would like to talk to her. Stigge called the mother and
requested that she come to the school. While waiting for the
mother to arrive, he contacted Project Harmony to request a
forensic interview.
   After the mother arrived at the school, Stigge told her
M.B.’s allegation and explained to her the process that would
take place. Stigge recommended that the mother take M.B. to
Project Harmony. The mother testified that she took M.B. to
Project Harmony voluntarily.
   Project Harmony is a child advocacy center that serves
children when there have been allegations of abuse. It pro-
vides forensic interview, medical, and mental health services
and victim advocacy. Children typically become involved
with Project Harmony by referral from law enforcement or
Child Protective Services during an active investigation. Law
enforcement and Child Protective Services representatives can
watch the interviews by closed-circuit television and are pro-
vided a DVD of the video-recorded interviews.
   April Anderson is a forensic interviewer at Project
Harmony. She has a master’s degree in social work and is a
licensed mental health practitioner. Anderson has completed
numerous training courses for forensic interviewing since she
began working at Project Harmony in 2001, including training
through the National Children’s Advocacy Center (NCAC).
She testified that she has conducted over 5,000 forensic inter-
views, close to 60 percent of which were in child sexual
assault cases. Anderson stated that as a forensic interviewer,
she conducts structured conversations with children to gather
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                   297 Nebraska R eports
                       STATE v. JEDLICKA
                       Cite as 297 Neb. 276
information to piece together whether something did or did
not happen.
   Anderson testified that she provides the information she
learns in her interviews to the nurse practitioner at Project
Harmony, Sarah Cleaver, to assist Cleaver in making an appro-
priate medical diagnosis and in determining any appropriate
medical care or mental health treatment the child may need.
The information also assists in identifying the perpetrator to
ensure the child is not being placed back in the home with
the abuser.
   Anderson testified that she met with M.B.’s mother before
the interview to gather some background information and
explain what was going to take place. Anderson then inter-
viewed M.B. while Stigge and a caseworker observed the inter-
view in an adjacent room by closed-circuit television.
   The DVD of Anderson’s interview with M.B. shows that
Anderson began the interview by explaining that M.B. was
safe and that nobody was going to hurt her. She also told M.B.
that “two friends” were watching from another room to make
sure Anderson did not forget to ask anything important. Then,
Anderson explained the importance of telling the truth and
M.B. agreed that she would tell the truth.
   Anderson proceeded to ask M.B. open-ended questions about
the abuse, under NCAC protocols. M.B.’s responses were ini-
tially vague, but she eventually described the sexual assault in
detail. M.B. stated that she had slept with Jedlicka that night
and woke up while it was still dark to Jedlicka’s fingers inside
her vagina.
   After M.B. described the sexual assault, Anderson left the
room to consult with Stigge. She testified that Stigge asked
her to inquire further about the sleeping arrangement and how
M.B. knew it was Jedlicka touching her, but she said that
Stigge did not tell her any questions to ask.
   Anderson stated that the information she learned from M.B.
was important for her to determine the appropriate followup
care and treatment for the child. Before examining M.B.,
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                   297 Nebraska R eports
                        STATE v. JEDLICKA
                        Cite as 297 Neb. 276
Cleaver, who was not present to observe the interview, spoke
with Anderson to gather information about M.B. Cleaver testi-
fied that it was important that she receive an accurate account
of the assault, because “[i]t helps guide me during the exam
as to where I should look, what kind of injuries I would
potentially consider, [and] where I would potentially collect
evidence from.” She also stated that the information from
Anderson assisted her in examining M.B., because she knew
to obtain a DNA sample since the assault had occurred within
72 hours.
   Cleaver began M.B.’s examination by asking her what had
happened. Specifically, Cleaver inquired about (1) the time of
the assault; (2) where M.B. was assaulted; (3) what M.B. may
have done since the assault that would have interfered with
DNA collection, including showering, urinating, and chang-
ing clothing; and (4) if M.B. had experienced pain during
the assault.
   Cleaver said the examination could neither confirm nor
disprove a sexual assault occurred. She said that based on
her training and experience, she would not expect to see any
signs of injury based on M.B.’s report of digital penetration.
Cleaver did not test for sexually transmitted diseases, because
it was not a concern from digital penetration. After Cleaver’s
examination was complete, M.B. saw a therapist at Project
Harmony.
   At trial, Jedlicka objected to the admission of exhibit 2, the
Project Harmony video recording of Anderson’s interview of
M.B., into evidence because it was hearsay. The court over-
ruled Jedlicka’s objection, finding that exhibit 2 qualified for
the medical exception to hearsay. After the prosecution had
concluded its case in chief, Jedlicka moved to dismiss by
arguing that no reasonable juror could find that penetration
occurred. The court overruled the motion.
   The jury found Jedlicka guilty of first degree sexual assault
of a child under 12 years of age. For the sentencing hearing,
Jedlicka obtained substitute counsel from his trial. Jedlicka
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                     Nebraska Supreme Court A dvance Sheets
                             297 Nebraska R eports
                                   STATE v. JEDLICKA
                                   Cite as 297 Neb. 276
was sentenced to a term of incarceration of 15 to 25 years.
Jedlicka, with substitute counsel, appeals the conviction.
               III. ASSIGNMENTS OF ERROR
   Jedlicka assigns, restated, the following errors: (1) The court
erred by admitting hearsay evidence under the medical diag-
nosis and treatment exception, rule 803(3); (2) his trial coun-
sel was ineffective; and (3) the court erred by overruling his
motion to dismiss at the close of the State’s case, because there
was insufficient evidence to support his conviction.

                IV. STANDARD OF REVIEW
   [1] Apart from rulings under the residual hearsay exception,
we will review for clear error the factual findings underpin-
ning a trial court’s hearsay ruling and review de novo the
court’s ultimate determination whether the court admitted evi-
dence over a hearsay objection or excluded evidence on hear-
say grounds.1
   [2] Whether a statement was both taken and given in con-
templation of medical diagnosis or treatment is a factual find-
ing made by the trial court in determining the admissibility of
the evidence under rule 803(3).2
   [3] An ineffective assistance of counsel claim is raised on
direct appeal when allegations of deficient performance are
made with enough particularity for (1) an appellate court to
make a determination of whether the claim can be decided
upon the trial record and (2) a district court later reviewing
a petition for postconviction relief to be able to recognize
whether the claim was brought before the appellate court.3
   [4] Whether a claim of ineffective assistance of trial counsel
may be determined on direct appeal is a question of law.4

 1	
      State   v.   McCurry, 296 Neb. 40, 891 N.W.2d 663 (2017).
 2	
      State   v.   Vigil, 283 Neb. 129, 810 N.W.2d 687 (2012).
 3	
      State   v.   Ash, 293 Neb. 583, 878 N.W.2d 569 (2016).
 4	
      State   v.   Betancourt-Garcia, 295 Neb. 170, 887 N.W.2d 296 (2016).
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                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
                               STATE v. JEDLICKA
                               Cite as 297 Neb. 276
   [5] In reviewing claims of ineffective assistance of counsel
on direct appeal, an appellate court decides only questions
of law: Are the undisputed facts contained within the record
sufficient to conclusively determine whether counsel did or
did not provide effective assistance and whether the defend­
ant was or was not prejudiced by counsel’s alleged defi-
cient performance?5

                        V. ANALYSIS
                  1. Excessive Sentence Not
                      Assigned as Error
   [6] We first dispose of a preliminary issue. An appel-
late court does not consider errors which are argued but
not assigned.6 Jedlicka argues that his sentence is excessive.
However, he did not assign this proposition as error. As a
result, we need not consider whether Jedlicka’s sentence was
excessive and we restrict our analysis to Jedlicka’s listed
assignments of error.

              2. Exhibit 2 Was Not Inadmissible
                 Hearsay Under Rule 803(3)
   Jedlicka argues that exhibit 2 was hearsay not within the
rule 803(3) exception, because it was not made in the chain
of medical care and the State failed to demonstrate that M.B.
made the statements therein with the intent to obtain medical
diagnosis or treatment. He also contends that exhibit 2 was
made only for investigatory purposes.
   [7] Hearsay is a statement, other than one made by the
declarant while testifying at the trial or hearing, offered to
prove the truth of the matter asserted.7 A declarant’s out-of-
court statement offered for the truth of the matter asserted is

 5	
      Ash, supra note 3.
 6	
      State v. McCumber, 295 Neb. 941, 893 N.W.2d 411 (2017).
 7	
      Neb. Evid. R. 801(3), Neb. Rev. Stat. § 27-801(3) (Reissue 2016).
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                               STATE v. JEDLICKA
                               Cite as 297 Neb. 276
inadmissible unless it falls within a definitional exclusion or
statutory exception.8
   [8] Rule 803(3) provides that the hearsay rule does not
exclude “[s]tatements made for purposes of medical diagnosis
or treatment and describing medical history, or past or pres-
ent symptoms, pain, or sensations, or the inception or general
character of the cause or external source thereof insofar as
reasonably pertinent to diagnosis or treatment.” Rule 803(3)
is based on the notion that a person seeking medical attention
will give a truthful account of the history and current status
of his or her condition in order to ensure proper treatment.9
In order for statements to be admissible under rule 803(3), the
party seeking to introduce the evidence must demonstrate (1)
that the circumstances under which the statements were made
were such that the declarant’s purpose in making the state-
ments was to assist in the provision of medical diagnosis or
treatment and (2) that the statements were of a nature reason-
ably pertinent to medical diagnosis or treatment by a medi-
cal professional.10
   [9-11] In State v. Vigil,11 we held that “statements made
by a child victim of sexual abuse to a forensic interviewer
in [the chain of medical care] may be admissible under rule
803(3) even though the interview has the partial purpose of
assisting law enforcement’s investigation of the crimes.” We
stated that the fundamental inquiry to determine whether state-
ments, made by a declarant who knew law enforcement was
listening, had a medical purpose is “‘[i]f the challenged state-
ment has some value in diagnosis or treatment, [because] the
patient would still have the requisite motive for providing the
type of “sincere and reliable” information that is important

 8	
      See, Neb. Evid. R. 802, Neb. Rev. Stat. § 27-802 (Reissue 2016); State v.
      McCave, 282 Neb. 500, 805 N.W.2d 290 (2011).
 9	
      State v. Herrera, 289 Neb. 575, 856 N.W.2d 310 (2014).
10	
      Id.11	
      Vigil, supra note 2, 283 Neb. at 139, 810 N.W.2d at 696.
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                               STATE v. JEDLICKA
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to that diagnosis and treatment.’”12 Nevertheless, the admis-
sibility of dual purpose statements are still subject to the gen-
eral two-prong standard used to determine admissibility under
rule 803(3).13
   Jedlicka did not assert that M.B.’s statements were not
reasonably pertinent or lacked value for medical diagnosis or
treatment. Therefore, we consider only whether Anderson’s
interview was in the chain of medical care and whether M.B.
made the statements therein with the intent to obtain medical
diagnosis or treatment.
            (a) Anderson’s Interview Was Conducted
                    in Chain of Medical Care
   Jedlicka asserts that exhibit 2 was not in the chain of
medical care, primarily, because Cleaver did not watch it
before examining M.B. Further, he contends that M.B.’s state-
ments to Anderson were not in the chain of medical care,
because Cleaver asked M.B. some of the same questions
later. Specifically, Jedlicka argues that M.B.’s statements to
Anderson could be in the chain of medical care only if they
prevented her from being revictimized by having to recount
the assault again later.
   Although the heart of the rule 803(3) exception lies in state-
ments made by a patient to a treating physician, the exception
casts its net wider than the patient-physician relationship.14
Accordingly, the admissibility of statements, under rule 803(3),
is not dependent on whether they were made to a physician.15
As mentioned above, we held in Vigil that statements made to a
forensic interviewer may qualify for the rule 803(3) exception,
if they are a part of the “‘chain of medical care.’”16

12	
      Id. at 137, 810 N.W.2d at 695-96.
13	
      See id.
14	
      Id.
15	
      Herrera, supra note 9.
16	
      Vigil, supra note 2, 283 Neb. at 137, 810 N.W.2d at 695.
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                               STATE v. JEDLICKA
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   In Vigil, Kelli Lowe, a forensic interviewer, recorded her
interview with the victim, D.S. Lowe testified that her role
was “‘to gather the information for all, for everyone involved
so that the child only has to go through it one time,’”17 and
“to determine possible abuse or traumatic injury.”18 She testi-
fied further that “the treating physician utilizes the forensic
interview in determining the proper treatment and therapy for
the patient.”19 Lowe stated that she verbally summarized the
interview to a doctor, who then created the discharge instruc-
tions—recommending therapy and a physical examination—
based solely on Lowe’s summary. D.S. was not examined by a
doctor until 9 days later.
   At the defendant’s trial, the video-recorded interview
between D.S. and Lowe was entered into evidence. We did not
consider the fact that the video recording was never viewed by
the treating physician to be relevant in determining its admis-
sibility. We held that the video recording was properly admit-
ted as evidence under rule 803(3).
   [12] Accordingly, under rule 803(3), the admissibility of a
victim’s statements in a recording is not distinct from the admis-
sibility of the statements themselves. Therefore, we consider
only whether M.B.’s statements to Anderson are admissible.
   The facts concerning M.B.’s statements to Anderson are
substantially the same as D.S.’ statements to Lowe in Vigil.
Anderson testified that her forensic interviews derive informa-
tion that is used to guide the treatment of a victim regarding
medical care, therapeutic care, and followup treatment. Cleaver
testified that she did not watch the video-recorded interview,
but merely received a verbal summary of it from Anderson.
Similar to Vigil, Cleaver’s determination that M.B. should
receive a medical examination was based solely on Anderson’s

17	
      Id. at 133-34, 810 N.W.2d at 693.
18	
      Id. at 133, 810 N.W.2d at 693.
19	
      Id.
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summary. Further, Cleaver testified that Anderson’s summary
informed her that the need for an examination was imminent
because the 72-hour window to collect DNA evidence from
M.B. had not passed.
   Jedlicka’s argument that statements to a forensic interviewer
are not in the chain of medical care if they do not prevent
any requestioning of a victim that might lead to revictimiza-
tion is without merit. Such an argument is not based on any
holdings by this court, but, instead, on a statement made by
Lowe, included in our opinion in Vigil, describing her role as
a forensic interviewer.
   In Vigil, we did not consider whether the doctor who later
examined D.S. asked her questions that were also asked by
Lowe. Further, we do not think it desirable to discourage medi-
cal professionals from discussing a child victim’s assault with
the child, to build rapport and to understand the child’s emo-
tional state, before engaging in the type of intimate examina-
tion required in these situations.
   Here, Anderson interviewed M.B. the day that she was
assaulted and was the first person to whom M.B. told specific
details. Anderson emphasized the need for M.B. to tell the
truth, and her NCAC training assisted M.B. to share progres-
sively more details of the assault throughout the interview.
Cleaver’s testimony that it was important that she receive an
accurate account of the assault to guide her examination and
inform her of potential injuries emphasizes the importance
of Anderson’s extensive training in interviewing child sexual
assault victims.
   Further, Anderson’s interview focused on broader issues—
including the perpetrator’s identity and the circumstances of
the assault—than Cleaver’s recount of her interview, which
focused more on symptoms and evidence collection. In Vigil,
we explained that “[t]he frequency and nature of the sexual
contacts with [the defendant] were part of D.S.’ medical his-
tory” and that the defendant’s familial relationship with D.S.
and his residence in the home with her made his identity
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reasonably pertinent to diagnosis and treatment.20 Additionally,
we stated that “[d]etails of the abuse are relevant to psycho-
logical implications regardless of whether any physical injury
occurred. . . . [E]valuation of the need for psychological
treatment is a fundamental component of sexual assault cases
and, thus, a component of medical diagnosis and treatment in
such cases.”21
   Accordingly, Anderson’s interview elicited facts that were
reasonably pertinent to Cleaver’s diagnosis and treatment of
M.B., including the recommendation that M.B. follow up with
a mental health therapist at the conclusion of her examination.
Therefore, the court did not err in findings that Anderson was
acting in the chain of medical care.
            (b) M.B.’s Statements to Anderson Were
              Made With Intent to Obtain Medical
                    Diagnosis or Treatment
   Jedlicka also argues that the State failed to present sufficient
direct or circumstantial evidence that M.B.’s statements during
the interview were made for the purpose of medical diagnosis
or treatment. Specifically, he asserts that neither M.B. nor her
mother testified that she had medical concerns about M.B.,
that she knew what Project Harmony was, or that she knew
that M.B. would receive medical treatment after the interview.
Additionally, Jedlicka argues that the setting of the interview
was not medical in nature.
   [13,14] Under rule 803(3), the fundamental inquiry when
considering a declarant’s intent “is whether the statement,
despite its dual purpose, was made in legitimate and rea-
sonable contemplation of medical diagnosis or treatment.”22
Under rule 803(3), there need not be direct evidence of the

20	
      Id. at 141, 810 N.W.2d at 698.
21	
      Id. at 140-41, 810 N.W.2d at 697-98.
22	
      Herrera, supra note 9, 289 Neb. at 598, 856 N.W.2d at 330, citing Vigil,
      supra note 2.
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declarant’s state of mind; instead, the appropriate state of mind
of the declarant may be reasonably inferred from the circum-
stances.23 Determining if the circumstances warrant inferring
the appropriate state of mind is necessarily a fact-specific
determination.24
   In Vigil, we determined that D.S.’ statements to Lowe were
pertinent to medical diagnosis or treatment.25 There, we consid-
ered the following facts: D.S.’ mother was concerned for D.S.’
physical and psychological health; D.S. believed she would
be physically examined after the interview, and her mother
had explained to her that certain medical procedures may be
necessary; D.S. was concerned that she had gotten sick from
the abuse; and D.S. was checked into the hospital, where the
forensic interview took place, as a patient.
   We also cited another case in Vigil where a court had
inferred that the victim’s statements in a video-recorded inter-
view were for medical diagnosis or treatment, State v. Donald
M.26 There, the court relied on the following facts: The
10-year-old victim was taken to a child advocacy center in
a hospital, the interviewer testified that the purpose of the
interview was to assess the physical and psychological needs
of the victim, and a social worker testified that she had
told the victim that the interviewer was going to make sure
she was safe and determine if a doctor examination would
be necessary.
   Here, there is no direct testimony from M.B. that she made
her statements to Anderson with the intent to receive medi-
cal diagnosis or treatment. However, there is circumstantial
evidence from which the court could infer that M.B. made her
statements with such intent.

23	
      Vigil, supra note 2, citing State v. Vaught, 268 Neb. 316, 682 N.W.2d 284      (2004).
24	
      See id.25	
      Id.26	
      State v. Donald M., 113 Conn. App. 63, 966 A.2d 266 (2009).
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   First, as in Donald M., M.B. testified that Anderson told
her that she was there to help and make sure that nothing
was wrong with her. Additionally, the video recording shows
Anderson telling M.B. that she is safe and that nobody is going
to hurt her and asking M.B. if she will tell the truth and talk
only about things that are real and true.
   Second, as in Donald M., Anderson testified that one pur-
pose of her interviews is to help figure out what needs the
child may have regarding medical or therapeutic care to make
a determination concerning any followup treatment or care
that may be needed for the child.
   Third, as in Vigil, M.B.’s mother had an understanding of
the process that would take place at Project Harmony and con-
sented to Anderson’s interview to get M.B. help. Stigge testi-
fied that he explained to M.B.’s mother the process that would
occur at Project Harmony. Specifically, he requested that she
take M.B. there for M.B.’s safety and told her that Project
Harmony had therapists that M.B. could speak with. In Vigil,
we also stated that “psychological treatment is a fundamental
component of sexual assault cases and, thus, a component of
medical diagnosis and treatment in such cases.”27 It is also
relevant that M.B.’s mother was an emergency room nurse
and would have a much greater understanding of the followup
required for a victim of sexual assault.
   Jedlicka’s assertion that the absence of certain factors pre-
cludes an inference that M.B.’s statements were made for the
purpose of medical diagnosis or treatment is without merit. As
mentioned above, the circumstances in every case will be dif-
ferent, and no one fact is dispositive in our analysis.
   Therefore, based on the circumstances, the court did not err
by inferring that M.B. made her statements with the intent to
receive medical diagnosis or treatment.

27	
      Vigil, supra note 2, 283 Neb. at 141, 810 N.W.2d at 697-98.
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              3. Jedlicka’s Trial Counsel Did Not
                 Provide Ineffective Assistance
   Jedlicka contends that his trial counsel was ineffective for
(l) failing to object to the admission of exhibit 2; (2) fail-
ing to develop and marshal a proper and reasonable defense
strategy by failing to utilize a rebuttal forensic expert, a
DNA expert, and a supporting medical expert; and, as a result,
(3) failing to subject the State’s case to meaningful adver-
sarial testing.
   [15] Jedlicka is represented on direct appeal by different
counsel than at trial. When a defendant’s trial counsel is dif-
ferent from his or her counsel on direct appeal, the defendant
must raise on direct appeal any issue of trial counsel’s inef-
fective performance which is known to the defendant or is
apparent from the record. Otherwise, the issue will be proce-
durally barred.28
   [16] An ineffective assistance of counsel claim is raised on
direct appeal when the claim alleges deficient performance
with enough particularity for (1) an appellate court to make a
determination of whether the claim can be decided upon the
trial record and (2) a district court later reviewing a petition
for postconviction relief to recognize whether the claim was
brought before the appellate court.29 However, the fact that
an ineffective assistance of counsel claim is raised on direct
appeal does not necessarily mean that it can be resolved on
direct appeal.30 The determining factor is whether the record
is sufficient to adequately review the question.31 An ineffec-
tive assistance of counsel claim will not be resolved on direct
appeal if it requires an evidentiary hearing.32

28	
      State v. Parnell, 294 Neb. 551, 883 N.W.2d 652 (2016).
29	
      Ash, supra note 3.
30	
      Id.31	
      Id.32	
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             (a) Two Tests for Claims of Ineffective
                     Assistance of Counsel:
                      Cronic and Strickland
   [17-19] In order to assess the adequacy of counsel’s assist­
ance under the Sixth Amendment, we ordinarily apply the two-
part test enunciated by the U.S. Supreme Court in Strickland
v. Washington.33 To prevail on a claim of ineffective assistance
of counsel under the Strickland analysis, the defendant must
show that his or her counsel’s performance was deficient
and that this deficient performance actually prejudiced the
defendant’s defense.34 To show prejudice, the defendant must
demonstrate a reasonable probability that but for counsel’s
deficient performance, the result of the proceeding would have
been different.35 The two prongs of this test may be addressed
in either order, and the entire ineffectiveness analysis should
be viewed with a strong presumption that counsel’s actions
were reasonable.36
   [20,21] However, Jedlicka directs us to United States v.
Cronic,37 the companion case to Strickland. Cronic provides
narrow exceptions to the Strickland analysis, where the reli-
ability of the adversarial process is in such doubt that prejudice
to the defendant will be presumed, resulting in a conclusion
of ineffective assistance of counsel.38 The three circumstances
where prejudice will be presumed are “(1) where the accused
is completely denied counsel at a critical stage of the pro-
ceedings, (2) where counsel [entirely] fails to subject the

33	
      Strickland v. Washington, 466 U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 674      (1984).
34	
      Betancourt-Garcia, supra note 4.
35	
      Id.36	
      Ash, supra note 3.
37	
      United States v. Cronic, 466 U.S. 648, 104 S. Ct. 2039, 80 L. Ed. 2d 657      (1984).
38	
      State v. Trotter, 259 Neb. 212, 609 N.W.2d 33 (2000), citing Cronic, supra
      note 37.
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prosecution’s case to meaningful adversarial testing, and (3)
where the surrounding circumstances may justify the presump-
tion of ineffectiveness without inquiry into counsel’s actual
performance at trial.”39 These circumstances “are so likely to
prejudice the accused that the cost of litigating their effect in a
particular case is unjustified.”40
   [22] The Fifth Circuit Court of Appeals described the differ-
ence between the Strickland and Cronic rules as the difference
between bad lawyering and no lawyering.41 It explained:
      The difference between bad and no lawyering is critical
      . . . because very different results flow from the label
      which is attached to the conduct in question. If the law-
      yering is merely ineffective, then the decision to upset
      the conviction, which turns on the presence of incom-
      petence and prejudice, is made on a case by case basis.
      See Strickland. If, on the other hand, the defendant was
      constructively denied the assistance of counsel, then the
      conviction must be overturned because prejudice is pre-
      sumed. See Cronic.42
The U.S. Supreme Court emphasized the distinction between
the Strickland and Cronic rules in Bell v. Cone.43 It stated
that “[f]or purposes of distinguishing between the rule of
Strickland and that of Cronic, this difference is not of degree
but of kind.”44
   In Cone, the defendant was being tried for first degree
murder. Defense counsel raised mitigating circumstances
and asked for mercy in his opening statement, successfully
objected to the introduction of prejudicial evidence, and

39	
      State v. Davlin, 265 Neb. 386, 401, 658 N.W.2d 1, 12-13 (2003), citing
      Trotter, supra note 38.
40	
      Cronic, supra note 37, 466 U.S. at 658.
41	
      Woodard v. Collins, 898 F.2d 1027 (5th Cir. 1990).
42	
      Id. at 1028.
43	
      Bell v. Cone, 535 U.S. 685, 122 S. Ct. 1843, 152 L. Ed. 2d 914 (2002).
44	
      Id., 535 U.S. at 697.
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adduced mitigating facts regarding his client, but he waived
his closing argument after a junior prosecutor gave a “‘low-
key’” closing argument, to prevent the lead prosecutor from
having a rebuttal.45 The Sixth Circuit Court of Appeals applied
the second Cronic exception to presume prejudice against the
defendant, because defense counsel’s failure to ask for mercy
“did not subject the State’s call for the death penalty to mean-
ingful adversarial testing.”46
   [23] The Supreme Court reversed, stating that the second
Cronic exception did not apply. It emphasized that for the
exception to apply, the “attorney’s failure must be complete”
and emphasized that counsel must “‘entirely fail[] to subject
the prosecution’s case to meaningful adversarial testing.’”47
The following statements by the Court emphasize the differ-
ence between Strickland and Cronic claims:
      Here, respondent’s argument is not that his counsel failed
      to oppose the prosecution throughout the sentencing pro-
      ceeding as a whole, but that his counsel failed to do so at
      specific points. . . .
         The aspects of counsel’s performance challenged by
      respondent—the failure to adduce mitigating evidence
      and the waiver of closing argument—are plainly of
      the same ilk as other specific attorney errors we have
      held subject to Strickland’s performance and prejudice
      components.48
   In accordance with this view, courts rarely apply the Cronic
exceptions.49 The Supreme Court confirmed this as the cor-
rect approach in Florida v. Nixon50 when it again emphasized

45	
      Id., 535 U.S. at 692.
46	
      Id., 535 U.S. at 693.
47	
      Id., 535 U.S. at 697 (emphasis in original).
48	
      Id., 535 U.S. at 697-98.
49	
      See, e.g., Malcom v. Houston, 518 F.3d 624 (8th Cir. 2008).
50	
      Florida v. Nixon, 543 U.S. 175, 189, 125 S. Ct. 551, 160 L. Ed. 2d 565      (2004).
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that counsel must “entirely fail[] to function as the client’s
advocate.” Further, the Court stated: “We illustrated just how
infrequently the ‘surrounding circumstances [will] justify a
presumption of ineffectiveness’ in Cronic itself. In that case,
we reversed a Court of Appeals ruling that ranked as prejudi-
cially inadequate the performance of an inexperienced, under-
prepared attorney in a complex mail fraud trial.”51 Other courts
have similarly rejected claims of ineffective assistance of
counsel that are directed at counsel’s performance in acting as
an advocate for their client.52

            (b) Jedlicka Did Not Receive Ineffective
                      Assistance of Counsel
                       Under Cronic Rule
   Jedlicka argues that under Cronic, we should presume preju-
dice in this case. He alleges specific mistakes that his trial
counsel made and argues that the aggregate effect of these
mistakes constitutes a failure to subject the State’s case in chief
to meaningful adversarial testing. Additionally, he contends
generally that his counsel’s cross-examinations of the State’s
witnesses were wholly ineffective.
   As discussed above, allegations of bad lawyering are not
proper for consideration under the Cronic exceptions. Jedlicka
has made no allegations of deficient performance showing his
attorney’s failure was complete, constituting a constructive
denial of the assistance of counsel. As in State v. Dubray,53
Jedlicka’s counsel advocated on his behalf as an attorney at
trial. Therefore, Jedlicka’s reliance upon Cronic is misplaced
and his allegations of specific mistakes are properly considered
under Strickland instead.

51	
      Id., 543 U.S. at 190 (citation omitted).
52	
      See, e.g., Malcom, supra note 49; Scarpa v. Dubois, 38 F.3d 1 (1st Cir.
      1994).
53	
      State v. Dubray, 294 Neb. 937, 885 N.W.2d 540 (2016).
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              (c) Jedlicka’s Claims of Ineffective
                     Assistance of Counsel
                     Under Strickland Rule
               (i) Failure to Object to Exhibit 1
   Jedlicka argues that his trial counsel should have objected
to exhibit 1, the picture drawn by M.B. depicting the sleep-
ing arrangement when the assault occurred, because it was
hearsay.
   Jedlicka cannot establish prejudice by his counsel’s failure
to object. Both Jedlicka and M.B. testified that the sleep-
ing situation was as depicted by the drawing. Therefore,
Jedlicka cannot demonstrate a reasonable probability that the
result of the proceeding would have been different if counsel
had objected.

                     (ii) Stigge’s Testimony
   Jedlicka contends that his trial counsel’s decision to ask
Stigge if there were any inconsistencies in Jedlicka’s state-
ments during his interrogation opened the door for the prosecu-
tion to point out the inconsistencies in his statements on redi-
rect, destroying his credibility. He also specifically identifies
one of Stigge’s answers, which he argues would have otherwise
been inadmissible, as especially damaging to his credibility:
“[Prosecutor:] Well, do you feel he was being honest with you?
[Stigge:] No, I did not.”
   Further, Jedlicka asserts that his attorney failed to object to
several of the prosecution’s leading questions concerning the
inconsistencies in his statements and that when his attorney
did successfully object to some of the prosecution’s questions
on the subject, he failed to have the questions stricken from
the record.
   The record before us is insufficient to determine whether trial
counsel’s decision to ask about inconsistencies in Jedlicka’s
statements during his interrogation and his decision to object
to only some of the prosecution’s leading questions on the
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subject were part of his trial strategy. Therefore, we decline to
address these questions on direct appeal.
   However, the record is sufficient to address his attorney’s
failure to move to strike the questions he successfully objected
to. Both successful objections made by Jedlicka’s attorney
were made before Stigge answered the prosecutor’s objected-to
questions. Jury instruction No. 1 read, in part, that “[y]ou must
not speculate as to possible answers to questions I did not per-
mit to be answered . . . .” Therefore, Jedlicka cannot show that
he was prejudiced by his attorney’s failure to have the ques-
tions stricken from the record.

                  (iii) Failure to Impeach M.B.
   Jedlicka asserts that M.B.’s prior testimony, concerning her
sleeping position, was inconsistent with her testimony at trial.
In addition to presenting an opportunity to impeach M.B., her
prior testimony would have created reasonable doubt as to the
feasibility of the assault. However, Jedlicka acknowledges that
this allegation cannot be resolved on direct appeal, because
M.B.’s deposition is not in evidence. We agree.

             (iv) Failure to Retain Expert Witnesses
   Jedlicka asserts that his trial counsel should have called
experts to rebut the following witnesses’ testimony: a foren-
sic DNA analyst who testified that testing M.B.’s underwear
and vaginal swab for DNA would not have been useful
in proving or disproving Jedlicka’s guilt; Anderson, whose
NCAC interview techniques elicited M.B.’s first allegation of
penetration; and Cleaver, who discussed studies supporting
her conclusion that digital sexual penetration rarely causes
vaginal injuries.
   The parties recognize that the record is currently insuf-
ficient, because there is no evidence that Jedlicka requested
such experts or any evidence concerning his trial counsel’s
strategy. The State, however, argues that Jedlicka has not
sufficiently preserved the record for a postconviction action,
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because he did not make any allegations of what such experts
would have actually testified to.
   [24] We agree with the parties that the record is currently
insufficient to review Jedlicka’s claims. From our review of
the record, we cannot make any meaningful determination
whether expert testimony beneficial to Jedlicka could have
been produced or, if it could have, whether trial counsel
made a reasonable strategic decision not to present certain
evidence.54 The record is, therefore, insufficient to adequately
review these claims on direct appeal, and we decline to con-
sider them at this time.55 As a result, we do not consider
the State’s contention that Jedlicka’s specific allegations of
deficient conduct are not sufficient to preserve the record for
appeal. An appellate court is not obligated to engage in an
analysis that is not necessary to adjudicate the case and con-
troversy before it.56

                4. There Was Sufficient Evidence
                       to Convict Jedlicka
   Jedlicka argues that the court erred in overruling his motion
to dismiss, because the prosecution presented insufficient evi-
dence to warrant a conviction. He asserts that his statement of
events has never changed, that M.B.’s story has changed—at
Anderson’s prompting, and that there is no physical evidence
of the assault.
   [25] Regardless of whether the evidence is direct, circum-
stantial, or a combination thereof, and regardless of whether
the issue is labeled as a failure to direct a verdict, insufficiency
of the evidence, or failure to prove a prima facie case, the stan-
dard is the same: In reviewing a criminal conviction, an appel-
late court does not resolve conflicts in the evidence, pass on

54	
      See State v. Nolan, 283 Neb. 50, 807 N.W.2d 520 (2012).
55	
      See id. See, also, State v. Filholm, 287 Neb. 763, 848 N.W.2d 571 (2014);
      State v. Morgan, 286 Neb. 556, 837 N.W.2d 543 (2013).
56	
      Estermann v. Bose, 296 Neb. 228, 892 N.W.2d 857 (2017).
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the credibility of witnesses, or reweigh the evidence; such mat-
ters are for the finder of fact, and a conviction will be affirmed,
in the absence of prejudicial error, if the evidence admitted at
trial, viewed and construed most favorably to the State, is suf-
ficient to support the conviction.57
   Accordingly, we will not review the credibility of Jedlicka
or M.B. as witnesses, resolve the conflicts in his or her testi-
mony, or reweigh the evidence of Jedlicka’s guilt; these were
determinations appropriate only for the trier of fact. We have
found no prejudicial error regarding the evidence presented or
Jedlicka’s assistance of counsel. M.B. testified that Jedlicka
assaulted her. Along with the other evidence admitted at trial,
all viewed in favor of the State, there was sufficient evi-
dence for a rational jury to find beyond a reasonable doubt
that Jedlicka was guilty of first degree sexual assault of a
child under 12 years of age. This assignment of error is with-
out merit.
                      VI. CONCLUSION
  We conclude that exhibit 2 was properly admitted as evi-
dence under the medical diagnosis and treatment hearsay
exception. Further, Jedlicka’s contentions of ineffective assist­
ance of trial counsel either lack merit or cannot be resolved,
because the record on direct appeal is insufficient. Finally,
Jedlicka’s argument that there was insufficient evidence to
support the verdict is without merit. Accordingly, Jedlicka’s
conviction is affirmed.
                                                    A ffirmed.

57	
      Betancourt-Garcia, supra note 4.
